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POBE:R& ;-J.-. L)i T'r"iOLlO
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UN|TED STATES OF AMER|CA, wm 0£'":,14 l?€EMPSllS

Plaintiff,

VS.
CR. NO. 02-20499-B

\/ClPl-lER TECHNOLOG|ES, et a|., (FUG)

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a follow-

re ort date of Thursda .lune 23 2005 at 2:30 .m., in Courtroom 1, 11th Floor

 

of the Federa| Building, Nlernphis, TN.
The period from June 17, 2005 through July 15, 2005 is excludable under 18

U. S. C. §3161(h)(8)( B)(iv) )becausethe ends ofjustice served an allowing for additional time
to prepare outweigh the need for a s eedy trial.
lT lS SO ORDERED this §

day of ne 2005.

UNHEL BREEN §
Nl Eo sTATEs olsTRl nuer

wm ama 55 and/or erb) rach on U" 3 §§

Thls document entered on the docket sheet;ln compliance 7

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:02-CR-20499 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

